Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 1 of 43 Page ID #:15




                    EXHIBIT 1
Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 2 of 43 Page ID #:16

  . CT Corporation                                                                                     Service of Process
                                                                                                       Transmittal
                                                                                                       12/15/2021
                                                                                                       CT Log Number 540741394
    TO:         Leslie DeMarco, Paralegal
                Exel Inc.
                360 WESTAR BOULEVARD
                WESTERVILLE, OH 43082

    RE:         Process Served in California

    FOR:        Exel Inc. (Domestic State: MA)




    ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

    TITLE OF ACTION:                                 Re: THOMAS WADE, an individual // To: Exel Inc.
    DOCUMENT(S) SERVED:                              -
    COURT/AGENCY:                                    None Specified
                                                     Case # CIVSB2130619
    NATURE OF ACTION:                                Employee Litigation - Wrongful Termination
    ON WHOM PROCESS WAS SERVED:                      C T Corporation System, GLENDALE, CA
    DATE AND HOUR OF SERVICE:                        By Process Server on 12/15/2021 at 08:23
    JURISDICTION SERVED :                            California
    APPEARANCE OR ANSWER DUE:                        None Specified
    ATTORNEY(S) / SENDER(S):                         None Specified
    ACTION ITEMS:                                    CT has retained the current log, Retain Date: 12/15/2021, Expected Purge Date:
                                                     12/20/2021

                                                     Image SOP

                                                     Email Notification, Leslie DeMarco Leslie.DeMarco@dhl.com

                                                     Email Notification, Rob Whipple rob.whipple@dhl.com

                                                     Email Notification, Andrew Etter andrew.etter@dhl.com

                                                     Email Notification, Mark Smolik mark.smolik@dhl.com

    REGISTERED AGENT ADDRESS:                        C T Corporation System
                                                     330 N BRAND BLVD
                                                     STE 700
                                                     GLENDALE, CA 91203
                                                     866-331-2303
                                                     CentralTeam1@wolterskluwer.com
    The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
    relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
    of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other




                                                                                                       Page 1 of 2 / DC
Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 3 of 43 Page ID #:17

  . CT Corporation                                                                                      Service of Process
                                                                                                        Transmittal
                                                                                                        12/15/2021
                                                                                                        CT Log Number 540741394
    TO:         Leslie DeMarco, Paralegal
                Exel Inc.
                360 WESTAR BOULEVARD
                WESTERVILLE, OH 43082

    RE:         Process Served in California

    FOR:        Exel Inc. (Domestic State: MA)




    advisors as necessary. CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
    therein.




                                                                                                        Page 2 of 2 / DC
    Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 4 of 43 Page ID #:18


                                                                ~   Wolters Kluwer

                        PROCESS SERVER DELIVERY DETAILS




Date:                      Wed, Dec 15, 2021

Server Name:               Jennifer Shaouli




Entity Served              EXEL INC.

Case Number                CIVSB2130619

Jurisdiction               CA




  I 111111 11111111111 11111111111111
      Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 5 of 43 Page ID #:19

                                                                                                                                                     SUM-100
                                           SUMMONS                                                                           FOR COURT USE ONLY

                                    (CITACION JUDICIAL)                                                                  (SOLO   ~1 If'     1fe:L~RTE)

                                                                                                                   SUPERIOR COURT OF CALIFORN! .
                                                                                                                    COUNTY OF SAN BERNARDINO
NOTICE TO DEFENDANT:                                                                                                 Si>,N BERNARDINO DISTRICT
(AV/SO AL DEMANDADO):
EXEL, INC. OBA OHL SUPPLY CHAIN; a company of unknown incorporation; and                                                                08
DOES 1 through 50, inclusive,
YOU ARE BEING SUED BY PLAINTIFF:
(LO ESTA DEMANDANDO EL DEMANDANTE):
                                                                                                                                                                          I
THOMAS WADE, an individual,                                                                                                                                               '
NOTICE! You have been sued. The court may decide against you without your being heard unless you respond within 30 days. Read the information
below.
   You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response at this court and have a copy
served on the plaintiff. A letter or phone call will not protect you. Your written response must be in proper legal form if you want the court to hear your
case. There may be a court form that you can use for your response. You can find these court forms and more information at the California Courts
Online Self-Help Center (www.courtinfo.ca.gov/se/fhelp), your county law library, or the courthouse nearest you. If you cannot pay the filing fee, ask the
court clerk for a fee waiver form. If you do not file your response on time, you may lose the case by default, and your wages, money, and property may
be taken without further warning from the court.
   There are other legal requirements. You may want to call an attorney right away. If you do not know an attorney, you may want to call an attorney
referri:JI service. If you cannot afford an attorney, you may be eligible for free legal services from a nonprofit legal services program. You can locate
these nonprofit groups at the California Legal Services Web site (www.lawhelpcalifornia.org), the California Courts Online Self-Help Center
(www.courtinfo.ca.gov/selfhe/p), or by contacting your local court or county bar association. NOTE: The court has a statutory lien for waived fees and
costs on any settlement or arbitration award of $10,000 or more in a civil case. The court's lien must be paid before the court will dismiss the case.
iA VISO! Lo han demandado. Si no responde dentro de 30 dias, la carte puede decidir en su contra sin escuchar su version. Lea la informaci6n a
continuaci6n.
   Tiene 30 DIAS DE CALENDAR/0 despues de que le entreguen esta citaci6n y papeles legates para presentar una respuesta par escrito en esta
carte y hacer que se entregue una copia at demandante. Una car/a o una llamada telef6nica no lo protegen. Su respuesta par escrito tiene que estar
en formato legal correcto si desea que procesen su caso en ta carte. Es posible que haya un formutario que usted pueda usar para su respuesta.
Puede encontrar estos formutarios de ta carte y mas informacion en el Centro de Ayuda de las Cortes de California (www.sucorte.ca.gov), en ta
bibtioteca de /eyes de su condado o en la carte que le quede mas cerca. Si no puede pagar la cuota de presentacion, pida al secretario de la carte que
le de un formutario de exenci6n de pago de cuotas. Si no presenta su respuesta a tiempo, puede perder el caso par incumplimiento y la carte le podra
quitar su sue/do, dinero y bienes sin mas advertencia.
   hay otros requisitos legates. Es recomendabte que 1/ame a un abogado inmediatamente. Si no conoce a un abogado, puede 1/amar a un servicio de
remisi6n a abogados. Si no puede pagar a un abogado, es posible que cumpla con las requisitos para obtener servicios legates gratuitos de un
programa de servicios legates sin fines de lucro. Puede encontrar estos grupos sin fines de /ucro en el sitio web de California Legal Services,
(www.lawhelpcalifornia.org), en el Centro de Ayuda de las Cortes de California, (www.sucorte.ca.gov) o poniendose en contacto con la carte o el
co/egio de abogados locales. AV/SO: Por fey, la carte tiene derecho a reclamar las cuotas y /os costos exentos por imponer un gravamen sabre
cuatquier recuperaci6n de $10,000 6 mas de valor recibida mediante un acuerdo o una concesi6n de arbitraje en un caso de derecho civil. Tiene que
pagar el gravamen de ta co rte antes de que la carte pueda desechar el caso.
The name and address of the court is:
(El nombre y direcci6n de la carte es):
San Eler:iardino District Courthouse- Civil Division
247 West Third Street, San Bernardino, California 92415
The naine, address, and telephone number of plaintiff's attorney, or plaintiff without an attorney, is: (El nombre, la direcci6n y el numero
de telefono de/ abogado de/ demandante, o de/ demandante que no tiene abogado, es):
Alexander Perez, Esq. (SBN: 304675); Jake D. Finkel, Esq. (SBN: 293954); Sheryl L. Marx, Esq. (SBN: 311475)
Law Offices of Jake D. Finkel, A. PC~ 34. 70 Wilshire Boulevard, Suite 830, Los Angeles, CA 90010; Phone: 213-787-7411
DATE:                       ~    DEC 3 2u21                                  Clerk, by   .       17 A,. 11_            , Deputy
(Fecha)                  ·     1/J                                          (Secretario)       ~-----                                                 (Adjunto)
(For proof of service of this summons, use Proof of Service of Summons (form POS-010).)            Daisy
(Paraprueba de entrega de esta citation use el formulario Proof of Service of Summons, (POS-010).)
                                   NOTICE TO THE PERSON SERVED: You are served
 [SEAL]
                                      1.   D     as an individual defendant.
                                      2.   D     as the person sued under the fictitious name of (specify):

                                      3.   D     on behalf of (specify):

                                           under:   D     CCP 416.10 (corporation)                          D      CCP 416.60 (minor)
                                                    D   CCP 416.20 (defunct corporation)                    D      CCP 416.70 (conservatee)
                                                    D   CCP 416.40 (association or partnership)             D      CCP 416.90 (authorized person)
                                                    D   other (specify):
                                      4.   D     by personal delivery on (date)                                                                           Pa e1 of1
Fonn Adopted for Mandatory Use
Judicial Council of California
                                                                      SUMMONS                                                 Code of Civil Procedure §§ 412.20, 465
                                                                                                                                                  \,\/!NW.courts.ca.gov
SUM-100 [~ev. July 1, 2009]
  Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 6 of 43 Page ID #:20

                                                                                                                                                                              CM-010
    ATTORNEY OR PARTY WITHOUT ATTORNEY (Name, State Bar number, and address):
    Alexander Perez, Esq. (SBN:304675); Jake D. Finkel, Esq. (SBN:293954)                                                                  FOR COURT USE ONLY

    Law Offices of Jake D. Finkel, APC
  · 3470 Wilshire Blvd, Ste. 830
    Los Angeles, CA 90010
                                                                                                                                               ~!,~  Ii::~-·
                                                                                                                                               O~M~'at\;;,U
                                                                                                                                SUPER1qry COURT.OF CALIFORNI!-,
                     TELEPHONE NO.:  (213) 787-7411                    FAX NO. (Optional):   (323) 916-0521                      COUNl 'i OF SAN BERNARDINO
            ATTORNEY FOR      (Name):Plaintiff, THOMAS WADE
                                                                                                                                     SAN BERNPRrnNo D!STRlC~ .

    SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO
   • STREET ADDRESS:           247 West 3rd St                                                                                                              6
   I MAILING ADDRESS:
   !CITY AND 2IP CODE: San Bernardino, 92415-0210
    BRANCH NAME:            San Bernardino District Courthouse- Civil Division
    CASE NAME:
  . THOMAS WADE v. EXEL, INC. OBA OHL SUPPLY CHAIN, et. al.


    0
                 CIVIL CASE COVER SHEET
                    Unlimited             D         Limited            D
                                                                         Complex Case Designation
                                                                               Counter            D     Joinder
                                                                                                                       l:r.tr~ B
                                                                                                                        ._.,,    v     ""'"'         2130619
                    (Amount                         (Amount
                    demanded                        demanded is    Filed with first appearance by defendant JUDGE:
                                                                        (Cal. Rules of Court, rule 3.402)
                    exceeds $25,000)                $25,000)                                                 DEPT.:

                                                     Items 1-6 below must be completed (see instructions on page 2).
       1. Check one box below for the case type that best describes this case:
                Auto Tort                                          Contract                                        Provisionally Complex Civil Litigation
                D      Auto (22)                                   D        Breach of contract/warranty (06)       (Cal. Rules of Court, rules 3.400-3.403)
                D      Uninsured motorist (46)                     D        Rule 3.740 collections (09)            D        Antitrust/Trade regulation (03)
                Other PI/PD/WD (Personal Injury/Property           D        Other collections (09)                 D        Construction defect (10)
                Damage/Wrongful Death) Tort                        D        Insurance coverage (18)                D        Mass tort (40)
      1         D
                .-,
                    Asbestos (04)                                  D        Other contract (37)
                                                                                                                   D        Securities litigation (28)
                L-1 Product liability (24)
                                                                    Real Property                                  D        Environmental!Toxic tort (30)
                D      Medical malpractice (45)                    D        Eminent domain/Inverse                 D        Insurance coverage claims arising from the
                                                                                                                            above listed provisionally complex case
                D      Other PI/PD/WD (23)                                  condemnation (14)
                                                                                                                            types (41)
                Non-PI/PD/WD (Other) Tort                          D        Wrongful eviction (33)                  Enforcement of Judgment
                D      Business tort/unfair business practice (07) D    Other real property (26)                   D        Enforcement of judgment (20)
                D      Civil rights (08)                           Unlawful Detainer                                Miscellaneous Civil Complaint
                D      Defamation (13)                             D        Commercial (31)                        0        RICO(27)
                D      Fraud (16)                                  D        Residential (32)
                                                                                                                   D        Other complaint (not specified above) (42)
                D      Intellectual property (19)                   D       Drugs (38)                              Miscellaneous Civil Petition
                D      Professional negligence (25)                 Judicial Review
                                                                                                                   D        Partnership and corporate governance (21)
                D      Other non-Pl/PD/WO tort (35)                 D       Asset forfeiture (05)
                Employment                                          D       Petition re: arbitration award (11)    D        Other petition (not specified above) (43)

                0      Wrongful termination (36)                   D        Writ of mandate (02)
     D Otheremployment(15) D Other judicial review (39)
   i'.'--=='----------------------------------------------.J
   12.           This case D       is    0 is not complex under rule 3.400 of the                     California Rules of Court. If the case is complex, mark the
                factors requiring exceptional judicial management:
                a.   D    Large number of separately represented parties       d.                D    Large number of witnesses
                b.   D    Extensive motion practice raising difficult or novel e.                D    Coordination with related actions pending in one or more
                          issues that will be time-consuming to resolve                               courts in other counties, states, or countries, or in a federal
           , c.      D      Substantial amount of documentary evidence             court
                                                                        f.                       D
                                                                                   Substantial postjudgment judicial supervision
     3.R emedies sought (check all that apply): a.                 0
                                                           monetary b.                       0
                                                                                nonmonetary; declaratory or injunctive relief c.                                      0        punitive
     4.N umber of causes of action (specify): 7 (disability discrimination, failure to accommodate, among others)
       5:This case         is  D[!] is not a class action suit.
   . 6.· If there are any known related cases, file and serve a notice of related case. (You may use form C¥-015,)/?
    Date: October 26 2021                                                                     ►        /--✓-~,,.Jf-::
    Alexander Perez, Esq.                                                                            t,,,,,e:::,;,_~:Jl?
                                      TYPE OR PRINT NAME                                                                    SIGNATURE·di= PARTY OR ATTORNEY FOR PARTY)
                                                                                              TICE
           •• Plaintiff must file this cover sheet with the first paper filed in the action or proceeding (except small claims cases or cases filed
               under the Probate Code, Family Code, or Welfare and Institutions Code). (Cal. Rules of Court, rule 3.220.) Failure to file may result
               in sanctions.
      •1   • File this cover sheet in addition to any cover sheet required by local court rule .
• ., _1    •.. If this case is complex under rule 3.400 et seq. of the California Rules of Court, you must serve a copy of this cover sheet on all
               other parties to the action or proceeding .
           • : Unless this is a collections case under rule 3.740 or a complex case, this cover sheet will be used for statistical purposes only.
·:/        ''                                                                                                                                                                 Page1of2
      Fo/m Adopted for Mandatory Use                                                                                             Cal, Rules of Court, rules 2.30, 3.220, 3.400-3.403, 3,740;
      Judicial Council of California                                   CIVIL CASE COVER SHEET                                            Cal. Standards of Judicial Administration, std. 3.10
      CM-010 [Rev. July 1, 2007]                                                                                                                                          www.courts.ca.gov
       Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 7 of 43 Page ID #:21


                                INSTRUCTIONS ON HOW TO COMPLETE THE COVER SHEET                                                           CM-010
To Plaintiffs and Others Filing First Papers. If you are fil ing a first paper (for example , a complaint) in a civil case, you must
complete and file, along with your f irst paper, the Civil Case Cover Sheet contained on page 1. This information will be used to compile
statistics about the types and numbers of cases filed. You must complete items 1 through 6 on the sheet. In item 1, you must check
one box for the case type that best describes the case. If the case fits both a general and a more specific type of case listed in item 1,
check the more specific one . If the case has multiple causes of action, check the box that best indicates the primary cause of action.
To assist you in com pleting the sheet, examples of the cases that belong under each case type in item 1 are provided below. A cover
sheet must be filed only with your initial paper. Failure to file a cover sheet with the first paper filed in a civil case may subject a party,
its counsel. or both to sanctions under rules 2.30 and 3.220 of the California Rules of Court.
To Parties in Rule 3.740 Collections Cases. A "collections case" under rule 3.740 is defined as an action for recovery of money owed
in a sum stated to be certain that is not more than $25,000, exclusive of interest and attorney's fees. arising from a transaction in which
property, services, or money was acquired on credit. A collections case does not include an action seeking the following: (1) tort
damages. (2) punitive damages, (3) recovery of real property, (4) recovery of personal property, or (5) a prejudgment writ of
attachment. The identification of a case as a rule 3.740 collections case on this form means that it will be exempt from the general
time-for-service requirements and case management rules, unless a defendant files a responsive pleading . A rule 3.740 collections
case will be subject to the requirements for service and obtaining a judgment in rule 3.740.
To Parties in Complex Cases. In complex cases only, parties must also use the Civil Case Cover Sheet to designate whether the
case is complex. If a plaintiff believes the case is complex under rule 3.400 of the California Rules of Court, this must be indicated by
completing the appropriate boxes in items 1 and 2. If a plaintiff designates a case as complex, the cover sheet must be served with the
complaint on all parties to the action. A defendant may file and serve no later than the time of its first appearance a joinder in the
plaintitrs designation. a counter-designation that the case is not complex. or, if the plaintiff has made no designation, a designation that
the case is complex.                                      CASE TYPES AND EXAMPLES
 Auto Tort                                      Contract                                           Provisionally Complex Civil Litigation (Cal.
   Auto (22)- Personal Injury/Property             Breach of Contract/Warranty (06)                Rules of Court Rules 3.400-3.403)
           Damage/Wrongful Death                       Breach of Rental/Lease                           Antitrust/Trade Regulation (03)
       Un insured Motorist (46) (if the                     Contract (not unlawful detainer             Construction Defect (10)
        case involves an uninsured                              or wrongful eviction)                   Claims Involving Mass Tort (40)
        motorist claim subject to                      Contract/Warranty Breach- Seller                 Securities Litigation (28)
        arbitration, check this item                        Plaintiff (not fraud or negligence)         Environmental/Toxic Tort (30)
        instead of Auto)                               Negligent Breach of Contract/                    Insurance Coverage Claims
 Other PI/PD/WD (Personal Injury/                           Warranty                                           (arising from provisionally complex
 Property Damage/Wrongful Death)                       Other Breach of Contract/Warranty                       case type listed above) (41)
 Tort                                              Collections (e.g ., money owed , open           Enforcement of Judgment
      Asbestos (04)                                    book accounts) (09)                            Enforcement of Judgment (20)
         Asbestos Property Damage                      Collection Case-Seller Plaintiff                   Abstract of Judgment (Out of
         Asbestos Personal Injury/                     Other Promissory Note/Collections                        County)
               Wrongful Death                               Case                                     Confession of Judgment (non-
      Product Liability (not asbestos or           Insurance Coverage (not provisionally                   domestic relations)
          toxic/environmental) (24)                    complex) (18)                                  Sister State Judgment
      Medical Malpractice (45)                         Auto Subrogation                               Admin istrative Agency Award
           Medical Malpractice-                        Other Coverage                                     (not unpaid taxes)
                 Physicians & Surgeons             Other Contract (37)                                Petition/Certification of Entry of
      Other Professional Health Care                   Contractual Fraud                                   Judgment on Unpaid Taxes
              Malpractice                              Other Contract Dispute                         Other Enforcement of Judgment
      Other Pl/PD/WO (23)                       Real Property                                                Case
           Premises Liability (e.g. , slip         Eminent Domain/I nve rse                        Miscellaneous Civil Complaint
                and fall)                              Condemnation (14)                              RICO (27)
           Intentional Bodily Injury/PD/WO         Wrongful Eviction (33)                             Other Complaint (not specified
                 (e.g., assault, vandalism)        Other Real Property (e.g. , quiet title) (26)            above) (42)
           Intentional Infliction of                   Writ of Possession of Real Property                  Declaratory Rel ief Only
                 Emotional Distress                    Mortgage Foreclosure                                 Injunctive Relief Only (non-
           Negligent Infliction of                     Quiet Title                                               harassment)
                  Emotional Distress                   Other Real Property (not eminent                     Mechanics Lien
           Other Pl/PD/WO                              domain, landlord/tenant, or                          Other Commercial Complaint
 Non-PI/PD/WD (Other) Tort                             foreclosure)                                              Case (non-tort/non-complex)
      Business Tort/Unfair Business             Unlawful Detainer                                           Other Civil Complaint
          Practice (07)                            Commercial (31)                                               (non-tort/non-complex)
      Civil Rights (e.g., discrimination,          Residential (32)                                Miscellaneous Civil Petition
            false arrest) (not civil               Drugs (38) (if the case involves illegal           Partnership and Corporate
            harassment) (08)                       drugs, check this item; otherwise,                      Governance (21)
      Defamation (e .g ., slander, libel)          report as Commercial or Residential)               Other Petition (not specified
             (13)                               Judicial Review                                            above) (43)
      Fraud (1 6)                                  Asset Forfeiture (05)                                   Civil Harassment
      Intellectual Property (19)                   Petition Re: Arbitration Award (11)                     Workplace Violence
      Professional Negligence (25)                 Writ of Mandate (02)                                    Elder/Dependent Adult
          Legal Malpractice                            Writ- Administrative Mandamus                            Abuse
          Other Professional Malpractice               Writ- Mandamus on Limited Court                     Election Contest
               (n ot medical or legal)                     Case Matter                                     Petition for Name Change
      Other Non-Pl/PD/WO Tort (35)                     Writ- Other Limited Court Case                      Petition for Relief From Late
 Employment                                                Review                                               Claim
      Wrongful Termination (36)                    Other Judicial Review (39)                              Other Civil Petition
      Other Employment (15)                            Review of Health Officer Order
                                                       Notice of Appeal-Labor
                                                             Commissioner Appeals
CM-010 (Rev. July 1, 2007]                                                                                                                 Page 2 of 2
                                                        CIVIL CASE COVER SHEET
Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 8 of 43 Page ID #:22




                          SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO


    THOMAS WADE
                                                                                                    lV SB 2 1 3 0 6 19
                                                                                Case No.: _ _ _ _ _ _ _ __


                              vs.                                               CERTIFICATE OF ASSIGNMENT

    EXEL, INC. OBA OHL SUPPLY CHAIN, et al.

    A civil action or proceeding presented for filing must be accompanied by this Certificate. If the ground
    is the residence of a party, name and residence shall be stated.

    The undersigned declares that the above-entitled matter is filed for proceedings in the
     San Bernardino- Civil             District of the Superior Court under Rule131 and General Order
    of this court for the checked reason:
           [j] General                           D
                                               Collection
                    Nature of Action               Ground
    □            1. Adoption                      Petitioner resides within the district
    □            2. Conservator                   Petitioner or conservatee resides within the district.
    □            3. Contract                      Performance in the district is expressly provided for.
    □            4. Equity                        The cause of action arose within the district.
    □            5. Eminent Domain                The property is located within the district.
    □            6. Family Law                    Plaintiff, defendant, petitioner or respondent resides within the district.
    □            7. Guardianship                  Petitioner or ward resides within the district or has property within the district.
    □            8. Harassment                    Plaintiff, defendant, petitioner or respondent resides within the district.
    D            9. Mandate                       The defendant functions wholly within the district.
    □            10. Name Change                  The petitioner resides within the district.
    □            11. Personal Injury              The injury occurred within the district.
    □            12. Personal Property            The property is located within the district.

    B            13. Probate
                 14. Prohibition
                                                  Decedent resided or resides within or had property within the district.
                                                  The defendant functions wholly within the district.
    □            15. Review                       The defendant functions wholly within the district.
    □            16. Title to Real Property       The property is located within the district.
    □            17. Transferred Action           The lower court is located within the district.
    □            18. Unlawful Detainer            The property is located within the district.
    □            19. Domestic Violence            The petitioner, defendant, plaintiff or respondent resides within the district.
    IBJ          20. Other employment             Cause of action arose in this district

    □            21. THIS FILING WOULD           NORMALLY FALL WITHIN JURISDICTION OF SUPERIOR COURT

    The address of the accident, performance, party, detention, place of business, or other factor which qualifies this
    case for filing in the above-designed district is:

_EXEL, INC. OBA OHL SUPPLY CHAIN                                                             9333 Hermosa Ave
          NAME- INDICATE TITLE OR OTHER QUALIFYING FACTOR                                    ADDRESS


 Rancho Cucamonga                                                       CA                                     91730
-         CITY                                                                   STATE                               ZIP CODE

     I declare, under penalty of perjury, that the foregoing is true and correct and that this declaration was
     executed on October 26, 2021           at Los Angeles
     California.
                                                     ----=------------------

                                                                                             Signature   of Attomey/Party
.'f:orrn # 13-16503-360                                     CERTIFICATE OF ASSIGNMENT                              Rev. June 2019
 ,Mandatory Use
  Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 9 of 43 Page ID #:23




      Jake D. Finkel, Esq. (SBN 293954)
      jake@lawfinkel.com                                         F   ~   l i~E 0   1

 2                                                      SUPERIOR COURT OF CALIFOH!·.J!,,
      Alexander Perez, Esq. (SBN 304675)                 COUNTY OF SAN BERNARDIN()
      al ex@lawfinkel.com                                 SAN BERN,<\RDINO 01sm1c·1
 3    LAW OFFICES OF JAKE D. FINKEL, APC
      3470 Wilshire Blvd. Suite 830                                       6
 tr   Los Angeles CA 90010
      Tel: (213) 787-7411
 5    Fax: (323) 916-0521
      Mailing Address:
 6.   8605 Santa Monica Blvd, PMB 63688
      W. Hollywood, CA 90069
 7
      Attorney for Plaintiff THOMAS WADE
 8

 9
                    SUPERIOR COURT OF THE STATE OF CALIFORNIA
10
                           FOR THE COUNTY OF SAN BERNARDINO
11

12                                             Case No.:
                                                                           2130619
      THOMAS WADE, an individual,
13                Plaintiff,                   COMPLAINT FOR DAMAGES
14          vs.
                                                 1. Discrimination in Violation of the Fair
15                                                 Employment and Housing Act;
                                                 2.Harassment;
16    EXEL, INC. DBA DHL SUPPLY CHAIN; a        3. Failure to accommodate;
      company of unknown incorporation; and     4. Failure to Engage in a Good Faith
17    DOES 1 through 50, inclusive,                Interactive Process;
                   Defendants.                   5. Intentional Infliction of Emotional
18
                                                    Distress.
19                                               6. Wrongful Termination in Violation of
                                                    Public Policy;
20                                               7. Unfair Business Practices in Violation of
                                                    Cal Bus. & Prof Code §§ 17200, et seq.;;
21
                                                      DEMAND FOR JURY TRIAL
22

23

24

25

26
 :}
27)




                                             - 1-
                                    COMPLAINT FOR DAMAGES
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            Plaintiff, THOMAS WADE, (hereinafter referred to as the "Plaintiff'), who hereby
 2    respectfully complains and alleges against as follows:
 3                                           INTRODUCTION
 4        1. Plaintiff brings these causes of action against his employers Defendants EXEL, INC.
 5    doing business as DHL SUPPLY CHAIN; (hereinafter "EXEL" or "Defendant"), (Defendants
 6    EXEL and [NAME] are collectively referred to herein as "Defendants.") (Plaintiff and
 7    Defendants are collectively referred herein as "Parties.")
 8       2. Plaintiff alleges claims for damages arising out of Defendant's violation of the California
 9    Labor Code and the Government Code, and other applicable laws and statutes, specifically: (1)
10    Discrimination in Violation of the Fair Employment and Housing Act; (2) Harassment in
11    Violation of FEHA; (3) Failure to accommodate; (4) Failure to Engage in a Good Faith
12    Interactive Process; (5) Intentional Infliction of Emotional Distress; (6) Wrongful Termination
13    in Violation of Public Policy; (7) Failure to Provide Accurate Itemized Wage Statements.
14                                               PARTIES
15    The Plaintiff
16           3.       Plaintiff THOMAS WADE is, and at all times herein mentioned was, a resident
17    of the County of San Bernardino, of the State of California. Plaintiff was hired by the Defendants
18    from on or about May 24, 2009 through the end of his employment on October 28, 2019. Plaintiff
19    worked as a material handler and forklift driver.
20    Defendants
21           4.       Plaintiff is informed and believes, and based thereon alleges, that the
22           EXEL, INC. doing business as DHL SUPPLY CHAIN, a company of unknown
23    incorporation, was his employer at all times mentioned herein. On information and belief,
24    EXEL, INC. DBA DHL SUPPLY CHAIN is a business operating in good standing in the State
25    of California, in the county of San Bernardino.
26           5.       Plaintiff is not aware of the true names and/or capacities of those entities or
27    individuals sued herein as DOES 1 through 50, inclusive, and therefore sues these Defendants
28


                                                  -2-
                                         COMPLAINT FOR DAMAGES
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      by their fictitious names. Plaintiff will seek leave of this Court to amend this Complaint to insert
 2    their true names and/or capacities when the same are ascertained.

 3           6.      Unless otherwise specified herein, each DOE defendant was the agent and
 4    employee of each Defendant, and in doing the things hereinafter mentioned, were at all times
 5    acting within the course and scope of that agency and employment.

 6       7. Plaintiff is informed and believes, and based thereon alleges, that each defendant acted in
 7    all respects as the agent, servant, partner, joint venture, alter-ego, employee, proxy, managing
 8    agent, and/or principal of the co-defendants, and in performing the actions mentioned below was
 9    acting, at least in part, within the course and scope of that authority as such agent, proxy, servant,
10    partner, joint venture, single enterprise, joint employer employee, alter-ego, managing agent,
11    and/or principal with the permission and consent of the co-Defendants. Plaintiff also alleges the

12    acts of each Defendant are legally attributable to the other defendants.
13        8. Plaintiff is informed and believes, and based thereon alleges, that each of the Defendants
14    sued herein was, at all relevant times hereto, the employer, owner, shareholder, principal, joint
15    venture, proxy, agent, employee, supervisor, representative, manager, managing agent, joint
16    employer and/or alter-ego of the remaining defendants, and was acting, at least in part, within the

17    course and scope of such employment and agency, with the express and implied permission,
18    consent and knowledge, approval and/or ratification of the other defendants. The above co-
19    defendants, managing agents, and supervisors aided, abetted, condoned, permitted, approved,

20    authorized and/or ratified the unlawful acts described herein.
21           9.      Whenever and wherever reference is made in this Complaint to an act, error,
22    omission or other conduct by a Defendant or co-Defendant, such allegations and references shall
23    also be deemed to be the acts, errors or omissions of each Defendant acting individually, jointly
24    severally or concurrently.

25                                     JURISDICTION AND VENUE
26            10.    Jurisdiction is proper in this Court by virtue of the California statutes, decisional
27    law and regulations, and the local rules under the San Bernardino County Superior Court Rules
28    because both Plaintiff and Defendants reside in San Bernardino County, California.


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                                          COMPLAINT FOR DAMAGES
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              11.    Venue in this Court is also proper because the subject matter of the causes of action
 2    alleged herein all took place in the city of Rancho Cucamonga, located in San Bernardino County,
 3    California.
 4                               ADMINISTRATIVE PREREQUISITE
 5             12.   At all times relevant, Defendants regularly employed five (5) or more persons,
 6    bringing Defendants within the provisions of Government Code section 12900, et seq.,
 7    prohibiting employers or their agents from discriminating against or harassing its employees, or
 8    from allowing and fostering an environment where fellow employees could harass or
 9    discriminate against other employees with impunity.
10             13.   Plaintiff exhausted his administrative remedies by timely filing a complaint
11    against Defendants of discrimination based on race, national origin, color, family care or medical
12    leave, disability, medical condition, and wrongful termination concerning the claims alleged
13    herein with the California Department of Fair Employment and Housing ("DFEH"). The DFEH
14    issued its Right-To-Sue Notice on October 26, 2020, (DFEHNo. 202010-11614325) authorizing
15    this lawsuit and Plaintiff timely filed this action within the prescribed period subsequent to
16    issuance of the Right-To-Sue Notice letter. A true and correct copy of the Right to Sue letter
17    issued by the DFEH on October 26, 2020 and its amendment are attached hereto as "EXIIlBIT
18    A." Plaintiff has, therefore, exhausted his administrative remedies and timely filed this action

19    within the prescribed period subject to issuance of the Right-To-Sue Notice letter.
20

21                                        FACTUAL ALLEGATIONS
22
              14.    Plaintiff had been training for the position of lead since February of 2017. As a
23

24    back-up lead, Plaintiff received training under Defendant Exel ' s then current lead, Deandre

25    Spencer ("Spencer"), in preparation for advancing to the position of lead. When Spencer was
26
      promoted to the position of supervisor on or about early July 2019, Plaintiff, fully expected to be
27
      advanced to the position of lead.
28


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                                           COMPLAINT FOR DAMAGES
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              15.    With nearly 10 years working for EXEL, Plaintiff, who was 50 years old at the

 2    time, was shocked to discovered that the lead position he had spent years applying and preparing

 3    for, had instead been given to Bernardo (Last Name Unknown), who was much younger at 23-
 4
      years of age and much less experienced than Plaintiff. Bernardo had no formal training for the
 5
      position compared to Plaintiffs more than 2 years of training under the then current lead while
 6
      performing in the position of back-up lead. It is also important to note that, at this time, EXEL
 7

 8    had four leads at the location where Plaintiff was employed, and that all four leads at that location

 9    were under 30 years old at that time. It was clear to Plaintiff that EXEL preferred to employ
10
      younger persons, employees under 30 years of age, to the positions of lead.           Plaintiff also
11
      observed, during his employment, that EXEL terminated older employees at a higher rate than
12

13    younger employees.

14            16.    On or about, August 5, 2019, Plaintiff experienced anxiety and an increase in blood
15
      pressure for which he sought medical treatment. As recommended by his medical provider,
16
      Plaintiff requested accommodations for his disabilities, including taking leave from work on or
17
      about August 5, 2019 to August 19, 2019.
18

19            17.    A mere three days after Plaintiff returned to work from his leave, he discovered

20    that he had been placed on the company's measuring system implemented by EXEL to measure
21
      and track an employee' s production and numbers based on the employee working full time.
22
      Plaintiff was surprised to find that DHL placed him on a measuring system in response to him
23
      taking disability leave from work.
24

25            18.    Despite EXEL normally notifying employees that they've been placed on the

26    measuring system, they failed to notify Plaintiff. Instead, Plaintiff learned he was placed on the
27
      measuring system, just three days back from leave, when two of his superiors, Gus Gonzalez
28


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                                           COMPLAINT FOR DAMAGES
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      ("Gonzalez") and Louis Camacho ("Camacho"), notified Plaintiff that his production was in the

 2    negatives. Plaintiff also received two write ups for seemingly minor issues that occurred a month

 3    prior. It was clear that Plaintiff was targeted for taking time off work for his disabilities and was
 4
      now being written up for seemingly minor issues. No retraining was offered to Plaintiff along
 5
      with the written reprimands.
 6
              19.    Plaintiff had not been placed on EXEL's monitoring system in approximately 5-6
 7

 8    years. Plaintiff was surprised and dismayed at EXEL responding to him taking medical leave by

 9    placing him on a measuring system, but he decided to keep his head down and keep on working
10
      because he needed his employment to preserve his financial security for himself and his family.
11
             20.     Then on about September 20, 2019, Plaintiff tore two shoulder ligaments leading
12

13    him to seek additional medical care. Plaintiffs medical provider recommended he take three

14    weeks disability-related leave from work as part of his treatment. Plaintiff communicated his
15
      request for accommodations for leave from work to EXEL 's Human Resources Manager, Myla
16
      Sabanal-Romero ("Romero"), to ensure EXEL was informed of his request for accommodations.
17
             21.       Upon his return from disability leave, Plaintiff was placed on a "sit-down" by
18

19    his superiors, Spencer and Gonzalez. Plaintiffs superiors informed him that he was not making

20    his expected numbers and reprimanded him with a write-up. Instead of adjusting the performance
21
      expectations for an employee who had been on leave from work, EXEL compared Plaintiff to a
22
      full-time employee.      EXEL made no adjustments to the performance expectations to
23
      accommodate for Wade 's disability-related leave from work. Despite Wade 's complaint that he
24

25    was being reprimanded for taking time off work for his disabilities, EXEL proceeded to reprimand

26    him with a writeup.
27

28


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                22.      Approximately one week after the writeup, on or about October 28, 2019, General

 2    Manager, Regan Berry ("Berry"), called Wade into the office on his day off. Upon his arrival,

 3    Berry and EXEL' s Safety Manager, Robert Becerra ("Becerra"), terminated Wade under the
 4
      pretext of a safety violation. Additionally, the "Termination Information" document that Berry
 5
      and Becerra gave to Wade should have been completed with the reasoning for Wade' s
 6
      termination; however, it was left incomplete. Clearly, EXEL pretextually terminated Wade for
 7

 8    relatively minor issues and discriminated and retaliated against him based on his age and

 9    disabilities. Wade was unlawfully terminated just months prior to his full retirement vesting with
10
      EXEL.
11

12                                        FIRST CAUSE OF ACTION

13                    Age and Disability Discrimination Under Government Code§ 12940(a)

14                         (Plaintiff against Defendant Exel, and Does 1-50, Inclusive)

15        23. Plaintiff realleges by references the paragraphs above as though fully set herein.

16              24.      At all times herein mentioned, Government Code sections 12900-12999 were in

17    full force and effect. These statutes, known as the California Fair Employment and Housing Act,
18    make it unlawful for an employer in the State of California to discriminate against an employee
19    based on his or her age or disability.

20              25.      At all times herein mentioned, Defendants, by and through some of its agents and

21    employees, subjected Plaintiff to age and disability discrimination by reason of the facts alleged

22    herein.

23              26.      The Fair Employment and Housing Act, Government Code section 12940,
24    subsection (a), provides in pertinent part, "It shall be an unlawful employment practice, unless
25    based upon a bona fide occupational qualification, or, except where based upon applicable

26    security regulations established by the United States or the State of California: (a) For an
27    employer, because of . .. physical disability, mental disability, medical condition, .. . sex, age or
28    sexual orientation of any person to refuse to hire or employ the person or to refuse to select the


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                                            COMPLAINT FOR DAMAGES
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      person for a training program leading to employment or to bar or discharge the person from
 2    employment, or to discriminate against the person in compensation or in terms, conditions or
 3    privileges of employment." (Emphasis added).
 4           27.     Plaintiff is informed and believes that Defendants knowingly and/or intentionally
 5    discriminated against Plaintiff due to his temporary disability, resulting from stress and anxiety.

 6           28.     Plaintiffs actual, perceived, and/or history of disability and/or other character-
 7    istics are protected by FEHA, Government Code section 12900, et seq., were motivating factors
 8    in Defendants' decision to refuse to accommodate plaintiff, to refuse to engage in the interactive
 9    process, and/or to take other adverse job actions against plaintiff.
10
              29.    Defendants' conduct, as alleged, violated FEHA, Government Code section
11
      12900, et seq., and defendants committed unlawful employment practices, including by the
12
      following, separate bases for liability:
13
             30.     Discharging, barring, refusing to transfer, retain, hire, select, and/or employ,
14
      and/or otherwise discriminating against plaintiff, in whole or in part on the basis of plaintiffs
15
      actual, perceived, and/or history of physical disability and/or other protected characteristics in
16
      addition to his age, in violation of Government Code section 12940(a);
17
             31.     Failing to accommodate plaintiffs actual, perceived, and/or history of physical
18
      or mental disability, in violation of Government Code section 12940(m);
19
             32.     Failing to engage in a timely, good faith interactive process to determine
20

21    reasonable accommodation, in violation of Government Code section 12940(n);

22           33.     Failing to take all reasonable steps to prevent discrimination, harassment, and

23    retaliation based on actual, perceived, and/or history of physical disability, in violation of

24    Government Code section l 2940(k);

25           34.     Discriminating against plaintiff for seeking to exercise rights guaranteed under
26    FEHA and/or opposing defendants' failure to provide such rights, including rights ofreasonable
27    accommodation, rights of interactive process, leave rights, and/or the right to be free of
28    discrimination, in violation of Government Code section 12940(h);


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             35.     Failing to provide plaintiff with requisite statutory leave, violating notice and/or

 2    other procedural requisites of leave, and/or retaliating against plaintiff for taking leave, m
 3    violation of Government Code section 12945.2.
 4                   As a proximate result of Defendants ' willful, knowing, and intentional discrimi-
             36.
 5
      nation against Plaintiff based on his age and disabilities, Plaintiff has suffered and continues to
 6
      suffer emotional distress, and physical and mental pain and anguish, all to his damage in a sum
 7
      according to proof.
 8
             37.     Plaintiff has incurred and continues to incur legal expenses and attorneys ' fees.
 9
      Pursuant to Government Code section 12965(b), Plaintiff is entitled to recover reasonable
10
      attorneys' fees and costs (including expert costs) in an amount according to proof.
11
             38.     Defendants' misconduct was committed intentionally, in a malicious, despicable,
12
      oppressive manner, entitling plaintiff to punitive damages against Defendants.
13

14
                                      SECOND CAUSE OF ACTION
15
                                     Harassment in Violation of FEHA
16
                       (Plaintiff against Defendant Exel, and Does 1-50, Inclusive)
17

18
         39. Plaintiff realleges and incorporates by reference all preceding paragraphs of this complaint

19    as though fully set forth herein.

20
             40.     At all times herein mentioned, Government Code section 12940, subdivision G)
21

22    (1), was in full force and effect. This statute, known as the California Fair Employment and

23    Housing Act ("FEHA"), makes it unlawful for an employer in the State of California to harass an
24
      employee based on their age or disability, or create a hostile work environment.
25
             41.     The Fair Employment and Housing Act, Government Code section 12940,
26
      subdivision G)(l), provides, "It shall be an unlawful employment practice, unless based upon a
27

28    bona fide occupational qualification, or, except where based upon applicable security regulations


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      established by the United States or the State of California: (1) For an employer, labor

 2    organization, employment agency, apprenticeship training program or any training program

 3    leading to employment, or any other person because ofrace, religious creed, color, national origin,
 4
      ancestry, physical disability, mental disability, medical condition, marital status, sex, age or
 5
      sexual orientation to harass an employee, applicant, or a person providing services pursuant to
 6
      a contract." (Emphasis added.)
 7

 8              42.   Plaintiff is informed and believes that Defendants, by and through its agents and

 9    employees knowingly and/or intentionally subjected Plaintiff to unwanted harassing conduct
10
      because of his age and disabilities. Specifically, during the course of his employment, Defendant
11
      subjected Plaintiff to hostile social interactions in the workplace through writes ups and other
12

13    forms of reprimand that affected the workplace environment because of the offensive message

14    they conveyed to Plaintiff.
15
                43.   The harassing conduct was sufficiently severe and pervasive as to materially alter
16
      Plaintiffs working environment which he considered hostile and abusive. Defendants harassing
17
      actions toward Plaintiff created an oppressive, hostile, intimidating, and/or offensive work
18

19    environment for Plaintiff and interfered with his emotional well-being and ability to perform his

20    duties.
21
                44.   As a direct and proximate result of the aforementioned harassment under FERA,
22
      Plaintiff has sustained, and will continue to sustain for a period of time, compensatory damages
23
      including, but not limited to, a loss of income and lost future earning capacity, all to his damage
24

25    in an amount according to proof.

26

27

28


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                                         COMPLAINT FOR DAMAGES
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             45.     As a further direct result of the aforementioned harassment under PEHA, Plaintiff

 2    has sustained, and will continue to sustain for a period of time, severe emotional, and mental

 3    distress, pain and suffering, all to his damage in an amount according to proof.
 4
             46.     Defendant thorough its employees and/or agents o acted on behalf of Defendant.
 5
      The acts and conduct of Defendants constituted "malice," "oppression" and/or "fraud" (as those
 6
      terms are defined in Code of Civil Procedure section 3294, subsection (c)), in that it was intended
 7

 8    by Defendants to cause injury to Plaintiff or was despicable conduct which was carried on by

 9    Defendants, with a willful and conscious disregard of the rights of Plaintiff.
10
             47.     Additionally, Plaintiff seeks reasonable attorney's fees and expenses under PEHA
11
      as well as punitive damages as a result of Defendants' knowing and/or intentional conduct.
12

13
                                          TIDRD CAUSE OF ACTION
14
                                   Failure to Accommodate Under FEHA
15
                       (Plaintiff against Defendant Exel, and Does 1-50, Inclusive)
16
         48. Plaintiff realleges and incorporates by reference all preceding paragraphs of this complaint
17
      as though fully set forth herein.
18
             49.     Under PEHA, it 1s unlawful for an employer to "fail to make reasonable
19
      accommodation for the known or perceived physical disability." Government Code section
20
      12940(m). Even if the employee' s medical condition does not constitute a qualified disability,
21
      an employer must reasonably accommodate an employee whom it regarded as disabled. Gelfo v.
22
      Lockheed Martin Corp. (2006) 140 Cal.App.4th 34, 60-62.
23
              50.    As discussed herein, Plaintiff requested an accommodation for his disability by
24
      way protected leave from work. Defendants by and through its agent and/or employees, refused
25
      to accommodate Plaintiff and simply denied Plaintiff with disability related time off work without
26
      reprimand or repercussion for taking time off work related to his disabilities.
27

28


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              51.      Defendants were aware that Plaintiff required a reasonable accommodation of his
 2    disability related medical leave and that he would be able to perform the essential functions of his
 3    job upon his return. Instead of granting Plaintiff job-protected leave, Defendants refused to allow
 4    Plaintiff time off work related to his disabilities as recommended by his medical provider without
 5    reprimand.

 6            52.      As a direct result of this failure to accommodate, Plaintiff has sustained, and will
 7    continue to sustain for a period of time, compensatory damages including a loss of income and
 8    lost future earning capacity, all to her damage in amount according to proof.

 9            53.      Moreover, Plaintiff has sustained, and will continue to sustain for a period of time,
10    physical, emotional, and mental distress, pain and suffering, all to her damage in an amount
11    according to proof.

12            54.      Plaintiff has sustained general and special damages within the jurisdictional limits
13    of this Court.
14            55.      Pursuant to Government Code section 12965(b), Plaintiff requests an award of
15    attorneys' fees in this action.
16                                      FOURTH CAUSE OF ACTION

17                               Failure to Engage in the Interactive Process
18                      (Plaintiff against Defendant Exel, and Does 1-50, Inclusive)

19            56.      Plaintiff realleges and incorporates by reference all preceding paragraphs of this

20    complaint as though fully set forth herein.
21            57.      FERA requires an employer to engage in a timely, good faith, interactive process
22    with the employee to determine effective reasonable accommodations, if any, in response to a
23    request for a reasonable accommodation by an employee with a known physical disability or
24    medical condition. Government Code section 12940(n). The interactive process "centers on the

25    employee-employer relationship so that capable employees can remain employed and so that their
26    medical problems can be accommodated."            Prilliman v. United Air Lines, Inc. (1997) 53
27    Cal.App.4th 935, 950.
28


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              58.     During his employment, Plaintiff suffered from a disability resulting from stress
 2    and anxiety. Defendants knew and were aware of Plaintiff's disabilities and his aforementioned
 3    request for disability related medical leave.
 4            59.     Although being aware of his request for leave, Defendants failed to engage in the
 5    interactive process with Plaintiff. To the contrary, Defendant reprimanded Plaintiff for taking

 6    time off work and failed to discuss Plaintiff being able to take time off work related to his
 7    disabilities without reprimand.

 8            60.     Had Defendants engaged in the interactive process with Plaintiff, the parties could
 9    have established the terms of Plaintiff's leave from work. By failing to engage in the interactive
10    process, Plaintiff was not afforded the opportunity to take job protected time off work without
11    reprimand.

12            61.     As a direct result of this failure to engage in the interactive process, Plaintiff has
13    sustained, and will continue to sustain for a period of time, compensatory damages including a
14    loss of income and lost future earning capacity, all to his damage in amount according to proof.
15            62.     Moreover, Plaintiff has sustained, and will continue to sustain for a period of time,
16    physical, emotional, and mental distress, pain and suffering, all to his damage in an amount

17    according to proof.
18            63.     Plaintiff has sustained general and special damages within the jurisdictional limits
19    ofthis Court.

20            64.     Pursuant to Government Code section l 2965(b), Plaintiff requests an award of
21    attorneys' fees in this action.
22
                                        FIFTH CAUSE OF ACTION
23

24                               Intentional Infliction of Emotional Distress

25                      (Plaintiff against Defendant Exel, and Does 1-50, Inclusive)
26
          65. Plaintiff realleges and incorporates by reference all preceding paragraphs of this
27
      complaint as though fully set forth herein.
28


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               66.      "A cause of action for intentional infliction of emotional distress exists when

 2    there is '(1) extreme and outrageous conduct by the defendant with the intention of causing, or

 3    reckless disregard of the probability of causing, emotional distress; (2) the plaintiffs suffering
 4
      severe      or   extreme emotional distress;   and   (3)   actual   and   proximate   causation   of
 5
      the emotional distress by the defendant's outrageous conduct."' (Hughes v. Pair (2009) 46 Cal.4th
 6
      1035, 1050-1051).
 7

 8             67.      Plaintiff alleges that Defendants' conduct as described hereinabove, was

 9    intentional, malicious, despicable, extreme and outrageous, without substantial justification,
10
      unprivileged, and was of the type and variety known to create severe emotional and mental
11
      distress.
12

13             68.      Defendants discriminated and harassed Plaintiff on the basis of his race, made

14    racially charged comments towards him, created a hostile work environment, and retaliated
15
      against him by terminating him in response to Plaintiff engaging in protected activity.
16
      Defendant's conduct described herein was knowing and deliberate.
17
               69.      As a result of Defendants' extreme and outrageous conduct described herein,
18

19    Plaintiff has sustained severe emotional distress. Defendants' conduct was a substantial factor in

20    causing Plaintiffs severe emotional distress.
21
               70.      As a direct result of this intentional infliction of severe emotional and mental
22
      distress, Plaintiff has sustained and will continue to sustain for a period of time, emotional, and
23
      mental pain and suffering, all to her general damage in an amount according to proof.
24

25             71.      As a further direct result of this intentional infliction of severe emotional and

26    mental distress, Plaintiff has sustained, and will continue to sustain for a period of time,
27
      compensatory damages in an amount according to proof.
28


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             72.     Defendants Exel., fostered, ratified, and approved Defendants

 2     extreme and outrageous conduct as described herein. These acts and conduct, which were

 3    extreme, outrageous, intentional, malicious, and oppressive were
 4
      designed to, and did, injure Plaintiff. Therefore, Plaintiff is entitled to an award of punitive
 5
      damages from Defendants in an amount according to proof.
 6

 7
                                           SIXTH CAUSE OF ACTION
 8
                            Wrongful Termination in Violation of Public Policy
 9
                       (Plaintiff against Defendant Exel, and Does 1-50, Inclusive)
10
          73. Plaintiff realleges and incorporates by reference all preceding paragraphs of this complaint
11
      as though fully set forth herein.
12
          74. At all times mentioned, the public policy of the State of California, as codified expressed
13
      and mandated in California Government Code § 12940 prohibits employers from discriminating
14
      and retaliating against any employee on the basis of his age or disability. The public policy of the
15
      State of California is designed to protect all employees and to promote the welfare and well-being
16
      of the community at large.
17
          75. Prior to his termination, Plaintiff engaged in protected activity, including, but not limited
18
      to, disability related protected leave from work.
19
          76. Instead allowing Plaintiff to take time off work without reprimand, Defendants retaliated
20
      and wrongfully terminated Plaintiff by writing him up as pretext for his termination, and then
21
      terminating his employment.
22
          77. As a direct result of the wrongful termination, Plaintiff has sustained, and will continue to
23
      sustain for a period of time, compensatory damages including, but not limited to, loss of income
24
      and loss of future earning capacity, all to his damage in an amount according to proof. As a
25
      further direct result of the wrongful termination, Plaintiff has sustained, and will continue to
26
      sustain for a period of time, severe physical, emotional, and mental pain, suffering, and distress,
27
      all to his general damage in an amount according to proof.
28


                                                      - 15 -
                                          COMPLAINT FOR DAMAGES
     Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 24 of 43 Page ID #:38




          78. The acts and conduct of Defendants, and each of them constituted "malice," "oppression"
 2    and/or "fraud" (as those terms are defined in Civil Code § 3294(c), in that it was intended by
 3    Defendants, and each of them, to cause injury to Plaintiff or was despicable conduct which was
 4    carried on by Defendants, and each of them, with a willful and conscious disregard of the rights
 5    of Plaintiff.
 6        79. The acts of Defendants, and each of them, were done fraudulently, maliciously, and
 7    oppressively, and with the advance knowledge, conscious disregard, authorization, or ratification
 8    within the meaning of Civil Code § 3294 on the part of the Defendants' officers, directors, or
 9    managing agents of the corporation. The actions and conduct of Defendants, and each of them,
10    were intended to cause injury to Plaintiff and constituted deceit and concealment of material facts
11    known to Defendants, and each of them, with the intention of the Defendants' part to deprive

12    Plaintiff of property and legal rights, justifying an award of exemplary and punitive damages in
13    an amount according to proof.
14

15                                    SEVENTH CAUSE OF ACTION
                                         Unfair Business Practices
16

17                      (Plaintiff against Defendant Exel, and Does 1-50, Inclusive)

18        80. Plaintiff realleges and incorporates by reference all preceding paragraphs of this
19
      Complaint as if fully set forth herein.
20

21            81.     At all relevant times, Defendants were was subject to the California Unfair Trade

22    Practices Act, Business and Professions Code section 17200 et seq., which required them to
23
      abide by the Labor Code and PEHA.
24
              82.     Defendants engaged in unfair trade practices prohibited Business and Professions
25

26    Code section 17200 et seq., by committing acts prohibited by applicable Labor Code and PEHA,

27    which include but is not limited to discriminating and terminating Plaintiff because of his and
28
      and disability,    resulting from engaging in protected activity, thus giving Defendants a

                                                   - 16 -
                                          COMPLAINT FOR DAMAGES
     Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 25 of 43 Page ID #:39




      competitive advantage over other employers and businesses with whom Defendants were in

 2    competition with and who were in compliance with the law.

 3            83.    As a direct and proximate result of Defendants' violations, Plaintiffs rights under
 4
      the law were violated because she suffered monetary losses and emotional damages . Plaintiff
 5
      seeks special and general damages, together with injunctive relief to prohibit Defendants from
 6
      violating the regulations alleged in this complaint, as well as any and all other available remedies.
 7

 8            84.    Plaintiff has incurred costs and attorney's fees in bringing this action and seeks

 9    to recover them.
10

11
                                           PRAYER FOR RELIEF

12
             WHEREFORE, Plaintiff prays for judgment as follows:

13              1.       For special damages in an amount according to proof;

14             2.        For general damages in an amount according to proof;

15             3.        For attorneys ' fees and expenses under California Labor Code, Government

16                       Code, and other applicable laws;
17             4.        For punitive damages in an amount according to proof;
18             5.        For prejudgment interest according to proof;
19             6.        For the costs of the suit herein incurred; and
20                       For all such other and further relief as this Court may deem just and proper.
               7.
21

22
      Dated: October 26, 2021                         LAW OFFICES OF JAKE D. FINKEL
23                                                           ~~p
                                                      By: ~     ~
24
                                                        Jake D. Vinkel, Esq.
25                                                      Alexander Perez, Esq.
                                                        Attorneys for Plaintiff THOMAS WADE
26

27

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                                                    - 17 -
                                           COMPLAINT FOR DAMAGES
     Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 26 of 43 Page ID #:40




                                 DEMAND FOR JURY TRIAL
 2
                  Plaintiff THOMAS WADE hereby demands a trial by jury.
 3

 4
      DATED: October 26, 2021               LAW OFFICES OF JAKE D. FINKEL
 5

 6

 7
                                      By:
 8
                                            Jake D. Finkel, Esq.
 9
                                            Alexander Perez, Esq.
10                                          Attorneys for Plaintiff, THOMAS WADE, an
                                            individual.
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                                             - 18 -
                                   COMPLAINT FOR DAMAGES
Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 27 of 43 Page ID #:41




                      EXHIBIT A
Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 28 of 43 Page ID #:42
        STAIE OE CALIFORNIA I Business Consumer Services and Housing Aaencv                 GA\{IN NEWSOM GOVERNOR

        DEPARTMENT OF FAIR EMPLOYMENT                                         &   HOUSING       KEVIN KISH, DIRECTOR

        2218 Kausen Drive, Suite 100 I Elk Grove I CA 195758
        (800) 884-1684 (Voice) I (800) 700-2320 (TTY) I California's Relay Service at 711
        http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov



 October 26, 2020

 Alexander Perez
 3470 Wilshire Blvd , Suite 830
 Los Angeles, California 90010

 RE:    Notice to Complainant's Attorney
        DFEH Matter Number: 202010-11614325
        Right to Sue: Wade/ Exel Inc. , dba OHL Supply Chain (USA)

 Dear Alexander Perez:

 Attached is a copy of your complaint of discrimination filed with the Department of Fair
 Employment and Housing (DFEH) pursuant to the California Fair Employment and
 Housing Act, Government Code section 12900 et seq . Also attached is a copy of your
 Notice of Case Closure and Right to Sue.

 Pursuant to Government Code section 12962, DFEH will not serve these
 documents on the employer. You must serve the complaint separately, to all named
 respondents . Please refer to the attached Notice of Case Closure and Right to Sue for
 information regard ing filing a private lawsuit in the State of California . A courtesy "Notice
 of Filing of Discrimination Complaint" is attached for your convenience.

 Be advised that the DFEH does not review or edit the complaint form to ensure that it
 meets procedural or statutory requirements .

 Sincerely,


 Department of Fair Employment and Housing
Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 29 of 43 Page ID #:43
        STAIE OE CALIFORNIA I Business Consumer Services and Housing Aaencv                 GA\{IN NEWSOM GOVERNOR

        DEPARTMENT OF FAIR EMPLOYMENT                                         & HOUSING         KEVIN KISH, DIRECTOR

        2218 Kausen Drive, Suite 100 I Elk Grove I CA 195758
        (800) 884-1684 (Voice) I (800) 700-2320 (TTY) I California's Relay Service at 711
        http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov



 October 26, 2020

 RE:    Notice of Filing of Discrimination Complaint
        DFEH Matter Number: 202010-11614325
        Right to Sue: Wade/ Exel Inc., dba OHL Supply Chain (USA)

 To All Respondent(s):

 Enclosed is a copy of a complaint of discrimination that has been filed with the
 Department of Fair Employment and Housing (DFEH) in accordance with Government
 Code section 12960. This constitutes service of the complaint pursuant to Government
 Code section 12962. The complainant has requested an authorization to file a lawsuit.
 This case is not being investigated by DFEH and is being closed immediately. A copy of
 the Notice of Case Closure and Right to Sue is enclosed for your records.

 Please refer to the attached complaint for a list of all respondent(s) and their contact
 information.

 No response to DFEH is requested or required.

 Sincerely,


 Department of Fair Employment and Housing
Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 30 of 43 Page ID #:44
       STAIE OE CALIFORNIA I Business Consumer Services and Housing Aaencv                 GA\{IN NEWSOM GOVERNOR

        DEPARTMENT OF FAIR EMPLOYMENT                                        & HOUSING         KEVIN KISH, DIRECTOR

       2218 Kausen Drive, Suite 100 I Elk Grove I CA 195758
       (800) 884-1684 (Voice) I (800) 700-2320 (TTY) I California's Relay Service at 711
       http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov



 October 26, 2020

 Thomas Wade
 846 W. Ashland Street
 Ontario, California 91762

 RE:   Notice of Case Closure and Right to Sue
       DFEH Matter Number: 202010-11614325
       Right to Sue: Wade I Exel Inc. , dba OHL Supply Chain (USA)

 Dear Thomas Wade:

 This letter informs you that the above-referenced complaint was filed with the
 Department of Fair Employment and Housing (DFEH) has been closed effective
 October 26 , 2020 because an immediate Right to Sue notice was requested. DFEH will
 take no further action on the complaint.

 This letter is also your Right to Sue notice. According to Government Code section
 12965, subdivision (b ), a civil action may be brought under the provisions of the Fair
 Employment and Housing Act against the person , employer, labor organization or
 employment agency named in the above-referenced complaint. The civil action must be
 filed within one year from the date of th is letter.

 To obtain a federal Right to Sue notice, you must contact the U.S. Equal Employment
 Opportunity Commission (EEOC) to file a complaint within 30 days of receipt of this
 DFEH Notice of Case Closure or within 300 days of the alleged discriminatory act,
 whichever is earlier.

 Sincerely,


 Department of Fair Employment and Housing
     Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 31 of 43 Page ID #:45




 1                      COMPLAINT OF EMPLOYMENT DISCRIMINATION
                              BEFORE THE STATE OF CALIFORNIA
 2                    DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                      Under the California Fair Employment and Housing Act
 3
                                   (Gov. Code,§ 12900 et seq.)
 4
      In the Matter of the Complaint of
 5     Thomas Wade                                                      DFEH No. 202010-11614325

 6                                   Complainant,
 7 vs.

 8     Exel Inc., dba OHL Supply Chain (USA)
       570 Polaris Parkway
 9     Westerville, Ohio 43082

10                                   Respondents

11
       1. Respondent Exel Inc., dba DHL Supply Chain (USA) is an employer Exel Inc., dba DHL
12
       Supply Chain (USA) subject to suit under the California Fair Employment and Housing Act
13     (FEHA) (Gov. Code, § 12900 et seq.).

14 2.
      3. Complainant Thomas Wade, resides in the City of Ontario, State of California.
15
   4. Complainant alleges that on or about October 28, 2019 , respondent took the
16 following adverse actions:

17    Complainant was harassed because of complainant's family care or medical leave (cfra)
18    (employers of 50 or more people), disability (physical or mental), medical condition (cancer
      or genetic characteristic), age (40 and over) , other.
19
      Complainant was discriminated against because of complainant's family care or medical
20    leave (cfra) (employers of 50 or more people) , disability (physical or mental), medical
      condition (cancer or genetic characteristic), age (40 and over) and as a result of the
21    discrimination was terminated, denied hire or promotion , reprimanded , demoted, asked
      impermissible non-job-related questions, denied any employment benefit or privilege , denied
22    reasonable accommodation for a disability, denied family care or medical leave (cfra)
      (employers of 50 or more people) , denied work opportunities or assignments.
23
      Complainant experienced retaliation because complainant requested or used a disability-
24    related accommodation , requested or used leave under the california family rights act or
      fmla (employers of 50 or more people) and as a result was terminated , reprimanded , asked
25    impermissible non-job-related questions, denied any employment benefit or privilege , denied
26    reasonable accommodation for a disability, denied work opportunities or assignments.

27   11---- - - - - - - - - - - - -      -1-- - - - - - - - - - - - - ----t
                         Complaint- DFEH No. 202010-11614325

28    Date Filed: October 26, 2020
     Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 32 of 43 Page ID #:46




 1

 2    Additional Complaint Details: Exel employed Thomas Wade ("Wade") from on or about
      May 24, 2010. The company was then purchased or otherwise replaced by OHL Supply
 3    Chain ("OHL") in or about April of 2013. Wade worked at DHL's Rancho Cucamonga
      location as a Material Handler, Forklift Operator, and Back-up Lead for the duration of his
 4    employment.

 5    On or about July of 2019, Wade experienced anxiety and an increase in blood pressure and
      heart related issues. Based on recommendations from his medical providers, Wade
 6    requested an accommodation for his disability proceeded to go on leave from work for about
 7    a month. During this time , Wade provided two medical notes to OHL to keep his employer
      fully apprised of when he would be returning to work.
 8
   As a Back-up Lead , Wade was training under a current Lead so that he could take over the
 g position once the current Lead got promoted to a Supervisor position. However, jut prior to
   his leave from work , Wade discovered that the Lead position had been taken away from him
1O and granted to another younger and less experienced employee. The Lead position was
   given to a 23-year old gentleman , a man almost 30 years younger than Wade. This younger
11 man had received no formal training for the position , compared to Wade's 2 years of formal
   training under a current Lead . At this time , all four Leads at the Rancho Cucamonga
12 location were under 30 years of age. Clearly, OHL discriminated against older employees
   by prioritized promoting younger less experienced leads and supervisors instead of
13 promoting older, more experienced employees such as Wad who was 51 years of age.

14    Upon his return to work from medical leave, Wade discovered that he has been placed on
15    DHL's measuring system. This measuring system is implemented by OHL to measure and
      track an employee's production and numbers throughout a 9-hour workday. Typically, back-
16    up leads are not placed on this measuring system. No adjustment was made to the
      measuring system to account for Wade's time away from work resulting from his disability
17    related medical leave. Additionally, while it is customary for the employer to notify the
      employee that their production is being monitored and for what reason , OHL failed to notify
18    Wade prior to placing him on the measuring system . Wade found out about his placement
      on the measuring system only after being notified that his production was in the negatives.
19
      Further, Wade suffered two shoulder tears on or about September 20, 2019, resulting in
20    him going on an additional three weeks of medical leave. Wade made sure to supply his
      employer with doctor's notes, to ensure that they knew when he would be return ing to work.
21
      Upon his return , Wade's employer informed him that he was not making his expected
22    numbers, and consequently handed Wade a write-up. These number expectations were not
23    adjusted to accommodate for Wade's disability related medical leave periods, and his
      employers were comparing his numbers to those of full-time employees who had not taken
24    disability related medical leave or required accommodations for disabilities. Nonetheless,
      OHL proceeded to reprimand Wade for his performance without taking account his disability
25    related accommodations.

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27   11---- - - - - - - - - - - - - - -    ~-- - - - - - - - - - - - - - - 1
                           Complaint- DFEH No. 202010-11614325

28    Date Filed: October 26, 2020
     Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 33 of 43 Page ID #:47




 1    Approximately 1 week after this encounter, Wade was called by OHL on or about, October
      28, 2019, OHL informed Wade that he was being terminated for a safety violation . According
 2    to OHL's representative , Wade had moved a propane tank without wearing the appropriate
      safety gear and being terminated . OHL terminated Wade for an issue that was not normally
 3    a terminating offense, instead of offering to retrain Wade on the safety issue or providing a
      write up. Clearly, OHL used the safety issue and the performance evaluations as pretext to
 4    terminate an employee who required accommodations for his disabilities.
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                           Complaint- DFEH No. 202010-11614325

28    Date Filed: October 26, 2020
     Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 34 of 43 Page ID #:48




 1 VERIFICATION

 2 I, Alexander Perez, am the Attorney in the above-entitled complaint. I have read the
 3 foregoing complaint and know the contents thereof. The matters alleged are based
   on information and belief, which I believe to be true.
 4
   On October 26, 2020, I declare under penalty of perjury under the laws of the State of
 5 California that the foregoing is true and correct.

 6                                                                    Long Beach, California
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27 ,,___ _ _ _ _ _ _ _ _ _ _ _ _ _4_ -_ _ _ _ _ _ _ _ _ _ _ _ _ ___,
                                     Complaint- DFEH No. 202010-11614325

28    Date Filed: October 26, 2020
Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 35 of 43 Page ID #:49
       STAIE OE CALIFORNIA I Business Consumer Services and Housing Aaencv                 GA\{IN NEWSOM GOVERNOR

        DEPARTMENT OF FAIR EMPLOYMENT                                        & HOUSING         KEVIN KISH, DIRECTOR

       2218 Kausen Drive, Suite 100 I Elk Grove I CA 195758
       (800) 884-1684 (Voice) I (800) 700-2320 (TTY) I California's Relay Service at 711
       http://www.dfeh.ca.gov I Email: contact.center@dfeh.ca.gov



 October 27, 2020

 Alexander Perez
 3470 Wilshire Blvd , Suite 830
 Los Angeles, California 90010

 RE:   Notice to Complainant's Attorney
       DFEH Matter Number: 202010-11614325
       Right to Sue: / Exel Inc. , dba OHL Supply Chain (USA)

 Dear Alexander Perez:

 Attached is a copy of your amended complaint of discrimination filed with the
 Department of Fair Employment and Housing (DFEH) pursuant to the California Fair
 Employment and Housing Act, Government Code section 12900 et seq .

 Pursuant to Government Code section 12962, DFEH will not serve these documents on
 the employer. You or your client must serve the complaint.

 The amended complaint is deemed to have the same filing date of the original
 complaint. This is not a new Right to Sue letter. The original Notice of Case Closure
 and Right to Sue issued in this case remains the only such notice provided by the
 DFEH . (Cal. Code Regs. , tit. 2, § 10022.)

 Be advised that the DFEH does not review or edit the complaint form to ensure that it
 meets procedural or statutory requirements .

 Sincerely,


 Department of Fair Employment and Housing
     Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 36 of 43 Page ID #:50




 1                      COMPLAINT OF EMPLOYMENT DISCRIMINATION
                              BEFORE THE STATE OF CALIFORNIA
 2                    DEPARTMENT OF FAIR EMPLOYMENT AND HOUSING
                      Under the California Fair Employment and Housing Act
 3
                                   (Gov. Code,§ 12900 et seq.)
 4
      In the Matter of the Complaint of
 5     Thomas Wade                                                    DFEH No. 202010-11614325

 6                                      Complainant,
 7 vs.

 8     Exel Inc., dba OHL Supply Chain (USA)
       570 Polaris Parkway
 9     Westerville, Ohio 43082

10     Gus Unknown

11
       Regan Berry
12

13     CAMACHO UNKNOWN
       321 FRANCISCO STREET
14     CARSON, California 90745
15
                                        Respondents
16
17     1. Respondent Exel Inc., dba DHL Supply Chain (USA) is an employer Exel Inc., dba DHL
       Supply Chain (USA) subject to suit under the California Fair Employment and Housing Act
18     (FEHA) (Gov. Code,§ 12900 et seq .).

19    2. Complainant is naming Gus Unknown as individual Co-Respondent(s).

20    Complainant is naming Regan Berry as individual Co-Respondent(s).

21    Complainant is naming CAMACHO UNKNOWN as individual Co-Respondent(s).
22
      3. Complainant Thomas Wade , resides in the City of Ontario, State of California.
23
      4. Complainant alleges that on or about October 28, 2019 , respondent took the
24    following adverse actions:

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27                                    -1- - - - - - - - - - - - - - - - - - I
     11 - - - - - - - - - - - - - - - -
                                   Complaint- DFEH No. 202010-11614325

28    Date Filed: October 26, 2020
      Date Amended : October 27, 2020
     Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 37 of 43 Page ID #:51




 1 Complainant was harassed because of complainant's family care or medical leave (cfra)
      (employers of 50 or more people), disability (physical or mental), medical condition (cancer
 2    or genetic characteristic), age (40 and over), other.

 3    Complainant was discriminated against because of complainant's family care or medical
      leave (cfra) (employers of 50 or more people), disability (physical or mental), medical
 4    condition (cancer or genetic characteristic), age (40 and over) and as a result of the
      discrimination was terminated , denied hire or promotion, reprimanded , demoted, asked
 5    impermissible non-job-related questions, denied any employment benefit or privilege, denied
 6    reasonable accommodation for a disability, denied family care or medical leave (cfra)
      (employers of 50 or more people), denied work opportunities or assignments.
 7
      Complainant experienced retaliation because complainant requested or used a disability-
 8 related accommodation , requested or used leave under the california family rights act or
      fmla (employers of 50 or more people) and as a result was terminated , reprimanded , asked
 g    impermissible non-job-related questions, denied any employment benefit or privilege, denied
      reasonable accommodation for a disability, denied work opportunities or assignments.
10

11    Additional Complaint Details: Exel employed Thomas Wade ("Wade") from on or about
      May 24, 2010. The company was then purchased or otherwise replaced by OHL Supply
12    Chain ("OHL") in or about April of 2013. Wade worked at DH L's Rancho Cucamonga
      location as a Material Handler, Forklift Operator, and Back-up Lead for the duration of his
13    employment.

14    On or about July of 2019, Wade experienced anxiety and an increase in blood pressure and
15    heart related issues. Based on recommendations from his medical providers, Wade
      requested an accommodation for his disability proceeded to go on leave from work for about
16    a month. During this time, Wade provided two medical notes to OHL to keep his employer
      fully apprised of when he would be returning to work.
17
      As a Back-up Lead, Wade was training under a current Lead so that he could take over the
18    position once the current Lead got promoted to a Supervisor position. However, jut prior to
      his leave from work, Wade discovered that the Lead position had been taken away from him
19    and granted to another younger and less experienced employee. The Lead position was
      given to a 23-year old gentleman , a man almost 30 years younger than Wade. This younger
20    man had received no formal training for the position , compared to Wade's 2 years of formal
      training under a current Lead . At this time, all four Leads at the Rancho Cucamonga
21    location were under 30 years of age. Clearly, OHL discriminated against older employees
      by prioritized promoting younger less experienced leads and supervisors instead of
22    promoting older, more experienced employees such as Wad who was 51 years of age.

23    Upon his return to work from medical leave, Wade discovered that he has been placed on
24    DHL's measuring system . This measuring system is implemented by OHL to measure and
      track an employee's production and numbers throughout a 9-hour workday. Typically, back-
25    up leads are not placed on this measuring system . No adjustment was made to the
      measuring system to account for Wade's time away from work resulting from his disability
26
27   11 - - - - - - - - - - - - - - - -  ~- - - - - - - - - - - - - - - - - 1
                         Complaint- DFEH No. 202010-11614325

28    Date Filed: October 26, 2020
      Date Amended : October 27, 2020
     Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 38 of 43 Page ID #:52



 1    related medical leave. Additionally, while it is customary for the employer to notify the
      employee that their production is being monitored and for what reason , OHL failed to notify
 2    Wade prior to placing him on the measuring system. Wade found out about his placement
      on the measuring system only after being notified that his production was in the negatives.
 3
      Further, Wade suffered two shoulder tears on or about September 20, 2019, resulting in
 4    him going on an additional three weeks of medical leave. Wade made sure to supply his
 5    employer with doctor's notes, to ensure that they knew when he would be returning to work.

      Upon his return, Wade's employer informed him that he was not making his expected
 6    numbers, and consequently handed Wade a write-up. These number expectations were not
 7    adjusted to accommodate for Wade's disability related medical leave periods, and his
      employers were comparing his numbers to those of full-time employees who had not taken
 8    disability related medical leave or required accommodations for disabilities. Nonetheless,
      OHL proceeded to reprimand Wade for his performance without taking account his disability
 g    related accommodations.

1O Approximately 1 week after this encounter, Wade was called by OHL on or about, October
   28, 2019, OHL informed Wade that he was being terminated for a safety violation . According
11 to OHL's representative, Wade had moved a propane tank without wearing the appropriate
   safety gear and being terminated . OHL terminated Wade for an issue that was not normally
12 a terminating offense, instead of offering to retrain Wade on the safety issue or providing a
   write up. Clearly, OHL used the safety issue and the performance evaluations as pretext to
13 terminate an employee who required accommodations for his disabilities.
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                           Complaint- DFEH No. 202010-11614325

28    Date Filed: October 26, 2020
      Date Amended : October 27, 2020
     Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 39 of 43 Page ID #:53




 1 VERIFICATION

 2 I, Alexander Perez, am the Attorney in the above-entitled complaint. I have read the
 3 foregoing complaint and know the contents thereof. The matters alleged are based
   on information and belief, which I believe to be true.
 4
   On October 27, 2020, I declare under penalty of perjury under the laws of the State of
 5 California that the foregoing is true and correct.

 6                                                                  Long Beach, California
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                                   Complaint- DFEH No. 202010-11614325

28    Date Filed: October 26, 2020
      Date Amended : October 27, 2020
Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 40 of 43 Page ID #:54
                                       SUPERIOR COURT OF CALIFORNIA,
                                        COUNTY OF SAN BERNARDINO
                                            San Bernardino District
                                               247 West 3rd St
                                           San Bernardino CA 92415
                                               www.sb-court.org
                                                909-708-8678

                                                Wade -v- Exel, Inc. et al
                                                                                                     Case Number
  NOTICE OF TRIAL SETTING CONFERENCE and NOTICE OF CASE ASSIGNMENT                               I
                                                                                                     CIVSB2130619
  Law Offices of Jake D Finkel APC
  3470 Wilshire Blvd
  Suite 830
  Los Angeles CA 9001 O

  This case has been assigned to: Khymberli S Apaloo in Department S25 - SBJC for all purposes.

  Notice is hereby given that the above-entitled case has been set for Trial Setting Conference on:

                          Hearing Date: 06/08/2022 at 9:00 AM in Department S25 - SBJC

  The Trial Setting Conference will be held in chambers without the appearance of the parties - except for good
  cause shown. (see Emergency Local Rule 411.1 ).

  Parties shall file and serve no later than 15 days prior to the trial setting conference the mandatory Initial Trial
  Setting Conference Statement form (local form #13-09001-360) included with this notice. Prior to the date of
  the initial trial setting conference, the court may entertain a written stipulation by all appearing parties to
  continue the initial trial setting conference if filed at least 30 days prior to the conference.

  Date: 12/8/2021                                                 Nancy CS Eberhardt, Court Executive Officer

                                                                                   I     0-~fl- ·
                                                                  By:       ~ 1:::::,C...l),l..Yt) ' -
                                                                        DaisyBailon, Deputy Clerk



                                              CERTIFICATE OF SERVICE

  I am a Deputy Clerk of the Superior Court for the County of San Bernardino at the above-listed address. I am
  not a party to this action and on the date and place shown below, I served a copy of the above-listed notice by:
  8 Enclosed in a sealed envelope mailed to the interested party addressed above for collection and mailing
       this date, following standard Court practices.
  D Enclosed in a sealed envelope, first class postage prepaid in the U.S. mail at the location shown above,
       mailed to the interested party and addressed as shown above or as shown on the attached listing.
  D A copy of this notice was given to the filing party at the counter.
  D A copy of this notice was placed in the bin located at this office and identified as the location for the above
       law firm's collection of file-stamped documents.
  Date of Mailing: 12/8/2021

  I declare under penalty of perjury that the forgoing is true and correct. Executed on 12/8/2021 at San
  Bernardino, CA.
                                                                                             ~




                                                                  By:       ~~..,_;
                                                                        oaisyBailon, Deputy Clerk
     Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 41 of 43 Page ID #:55


 NAME AND ADDRESS OF ATTORNEY OR PARTY WlTHOUT ATTORNEY                        STATE BAR NUMBER                            Reserved for Clerk's File Stamp




 TELEPHONE NO.:
 E-MAIL ADDRESS:                                     TRIAL SETTING CONFERENCE DATE:
 ATTORNEY FOR (Name):
 FAX NO. (Optional):
                                                     UNLIMITED CASE:
                                                                          --
                                                     LIMITED CASE:
                                                                          --
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO
 COURTHOUSE ADDRESS:

 PLAINTIFF:

 DEFENDANT:

                                                                                                                  CASE NUMBER:
              INITIAL TRIAL SETTING CONFERENCE STATEMENT

INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided. This document
must be filed and served at least 15 days prior to the trial setting conference date.

1.    Party or parties (answer one):
          a. D This statement is submitted by party (name):
          b. D This statement is submitted jointly by parties (names):

2.    Service of Complaint on all parties has              D   has not     D   been completed.

3.    Service of Cross-Complaint on all parties has                D     has not   D   been completed.

4.    Description of case in Complaint:

5.    Description of case in Cross-Complaint:


6.    Has all discovery been completed: Yes               D     No   D     Date discovery anticipated to be completed: _ _ _ _ _ __

7.    Do you agree to mediation? Yes             D        No   D   Please check type agreed to: Private: ___          Court-sponsored: _ __

8.    Related cases, consolidation, and coordination: Please attach a Notice of Related Case.

      D A motion to D consolidate                  D      Trial dates requested: Yes      D       No   D   Available dates: _ _ _ _ _ _ __
      Time estimate: _ _ _ __

9.    Other issues:
      D The following additional matters are requested to be considered by the Court:
10. Meet and Confer:
      D   The parties represent that they have met and conferred on all subjects required by California Rules of Court, Rule 3.724.

      D   The parties have entered into the following stipulation(s):

11. Total number of pages attached (if any): _ _

      I am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute
      resolution, as well as other issues raised by this statement, and will possess the authority to enter into stipulations on these
      issues at the time of the Initial Trial Setting Conference, including the written authority of the party where required.
      Date: _ _ _ _ _ _ __


           (TYPE OR PRINT NAME)                                                              (SIGNATURE OF PARTY OR ATTORNEY



           (TYPE OR PRINT NAME)                                                              (SIGNATURE OF PARTY OR ATTORNEY




Form# 13-09001-360                          INITIAL TRIAL SETTING CONFERENCE STATEMENT
Mandatory Form
     Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 42 of 43 Page ID #:56


 NAME AND ADDRESS OF ATTORNEY OR PARTY WITHOUT ATTORNEY                        STATE BAR NUMBER                             Reserved for Clerk's File Stamp




 TELEPHONE NO.:
 E-MAIL ADDRESS:                                      TRIAL SETTING CONFERENCE DATE:
 ATTORNEY FOR (Name):
 FAX NO. (OptiDnal):
                                                      UNLIMITED CASE:
                                                      LIMITED CASE:
                                                                          --
     SUPERIOR COURT OF CALIFORNIA, COUNTY OF SAN BERNARDINO
 COURTHOUSE ADDRESS:

 PLAINTIFF:

 DEFENDANT:

                                                                                                                   CASE NUMBER:
              INITIAL TRIAL SETTING CONFERENCE STATEMENT

INSTRUCTIONS: All applicable boxes must be checked, and the specified information must be provided. This document
must be filed and served at least 15 days prior to the trial setting conference date.

1.    Party or parties (answer one):
          a. D This statement is submitted by party (name):
          b. D This statement is submitted jointly by parties (names):

2.    Service of Complaint on all parties has              D   has not    D   been completed.

3.    Service of Cross-Complaint on all parties has                D     has not   D   been completed.

4.    Description of case in Complaint:

5.    Description of case in Cross-Complaint:


6.    Has all discovery been completed: Yes               D     No   D     Date discovery anticipated to be completed: _ _ _ _ _ __

7.    Do you agree to mediation? Yes             D        No   D   Please check type agreed to: Private: ___            Court-sponsored: _ __

8.    Related cases, consolidation, and coordination: Please attach a Notice of Related Case.

      D   A motion to       D   consolidate        D      Trial dates requested: Yes       D      No   D   Available dates: _ _ _ _ _ _ _ __
      Time estimate:

9.    Other issues:
      D The following additional matters are requested to be considered by the Court:
10. Meet and Confer:
      0   The parties represent that they have met and conferred on all subjects required by California Rules of Court, Rule 3.724.

      D   The parties have entered into the following stipulation(s):

11. Total number of pages attached (if any): _ _

      I am completely familiar with this case and will be fully prepared to discuss the status of discovery and alternative dispute
      resolution, as well as other issues raised by this statement, and will possess the authority to enter into stipulations on these
      issues at the time of the Initial Trial Setting Conference, including the written authority of the party where required.
      Date:


            (TYPE OR PRINT NAME)                                                             (SIGNATURE OF PARTY OR ATTORNEY



            (TYPE OR PRINT NAME)                                                             (SIGNATURE OF PARTY OR ATTORNEY




Form# 13-09001-360                          INITIAL TRIAL SETTING CONFERENCE STATEMENT
Mandatory Form
    Case 5:22-cv-00093-JAK-KK Document 1-2 Filed 01/14/22 Page 43 of 43 Page ID #:57

                                                                                Superior Court
                         Alternative Dispute                                    of California -
                                                                                County of San
                             Resolution                                         Bernardino




Alternate Dispute Resolution (ADR) provides an opportunity for parties
to receive assistance reaching a resolution in their small claims, land-
lord tenant, civil, family law, probate case with a trained mediator. The
Inland Fair Housing and Mediation Board (IFHMB) provides in-person
services for all case types listed above. These services are available for
the following court locations:
• San Bernardino Historic
• San Bernardino Justice Center
•   Barstow
• Fontana
• Joshua Tree
Using ADR to resolve disputes can:
o Save time, since it can take a lot less time to work out and write up an
  agreement than go through a trial.
o Save money on attorney's fees, fees for expert witnesses and other
  expenses.
o More control over the outcome. In ADR, parties participate more
  actively in creating a workable solution than leaving the decision up
  to a judge or a jury. Also, it can create solutions that go beyond what
  the court can do.




                                                                        Revised 7/1/2021
